          Case 1:20-vv-00445-UNJ Document 31 Filed 10/08/21 Page 1 of 2




    In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                         No. 20-0445V
                                        UNPUBLISHED


    MARY BETH NEIMAN,                                       Chief Special Master Corcoran

                        Petitioner,                         Filed: September 8, 2021
    v.
                                                            Special Processing Unit (SPU);
    SECRETARY OF HEALTH AND                                 Ruling on Entitlement; Concession;
    HUMAN SERVICES,                                         Table Injury; Influenza (Flu) Vaccine;
                                                            Shoulder Injury Related to Vaccine
                       Respondent.                          Administration (SIRVA)


Amy A. Senerth, Muller Brazil, LLP, Dresher, PA, for Petitioner.

Mark Kim Hellie, U.S. Department of Justice, Washington, DC, for Respondent.

                                   RULING ON ENTITLEMENT1

      On April 16, 2020, Mary Beth Neiman filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.2 (the
“Vaccine Act”). Petitioner alleges that that she suffered from a left shoulder injury related
to vaccine administration (“SIRVA”) as a result of an influenza (“flu”) vaccine that was
administered to her on October 26, 2018. Petition at 1. The case was assigned to the
Special Processing Unit of the Office of Special Masters.

      On September 7, 2021, Respondent filed his Rule 4(c) report in which he states
that he does not contest that Petitioner is entitled to compensation in this case.
Respondent’s Rule 4(c) Report at 1. Specifically, Respondent states that “petitioner has


1 Because this unpublished Ruling contains a reasoned explanation for the action in this case, I am required
to post it on the United States Court of Federal Claims' website in accordance with the E-Government Act
of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic Government
Services). This means the Ruling will be available to anyone with access to the internet. In accordance
with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact medical or other information,
the disclosure of which would constitute an unwarranted invasion of privacy. If, upon review, I agree that
the identified material fits within this definition, I will redact such material from public access.

2National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all section references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
         Case 1:20-vv-00445-UNJ Document 31 Filed 10/08/21 Page 2 of 2




satisfied the criteria set forth in the Vaccine Injury Table (“Table”) and the Qualifications
and Aids to Interpretation (“QAI”) for SIRVA”. Id. at 5.

       In view of Respondent’s position and the evidence of record, I find that
Petitioner is entitled to compensation.

IT IS SO ORDERED.

                                   s/Brian H. Corcoran
                                   Brian H. Corcoran
                                   Chief Special Master




                                             2
